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                    IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF TEXAS
                              DALLAS DIVISION

 UNITED STATES OF AMERICA                       §
                                                §
 v.                                             §            Crim. Action No. 3:20-CR-00384-N
                                                §
 VINSON WOODLEE (1)                             §

                           AMENDED PRETRIAL ORDER

        Before the Court is the Defendant’s Unopposed Motion for Continuance of Trial

and Pretrial Deadlines filed August 25, 2021. The Court finds that the ends of justice

served by a continuance outweigh the best interests of the public and the defendant in a

speedy trial for the reasons stated in the motion and therefore grants the requests for

continuance as requested. The failure to grant a continuance in this case would deny

defendant’s counsel the reasonable time necessary for effective preparation taking into

account the exercise of due diligence. By taking into account the exercise of due diligence

by defense counsel, a continuance of the duration granted by this order is necessary for

effective preparation by defense counsel.

        1.    This case is set for trial on this Court’s one-week docket beginning April 11,

2022. Any potential conflicts must be called to the attention of the Court in writing within

ten (10) days from the date of this Order. The parties shall comply with the Federal Rules

of Criminal Procedure and the Local Criminal Rules of this Court except as expressly

modified by this Order.




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         2.   The government shall provide full discovery to each defendant in accordance

with Rule 16(a), Fed. R. Crim. P. thirty-five (35) days before trial, and each defendant

shall provide full discovery to the Government twenty-eight (28) days before the trial in

accordance with Rule 16(b).

         3.   The Government shall in accordance with Brady v. Maryland, 373 U. S. 83

(1963), provide each defendant with all of the exculpatory evidence it possesses concerning

that defendant thirty-five (35) days before trial.

         4.   The Government shall provide each defendant with all Jencks Act material

(18 U.S.C. § 3500) on the day prior to the testimony of the witness to whom such material

relates. The defendant shall do likewise.

         5.   All pretrial motions shall be filed twenty-one (21) days before trial and they

must comply with Local Rule 47.1.

         6.   The Government’s response to the pretrial motions shall be filed fourteen

(14) days before trial and any reply by the defendant(s) shall be filed ten days (10) before

trial.

         7.   The Government’s pretrial material shall be filed ten days (10) before trial.

The defendant’s pretrial material shall be filed seven (7) days before trial. Specifically,

pretrial material shall include:

         a.   A list of witnesses shall be filed by each party– which divides the persons
              listed into groups of “probable witnesses,” “Possible witnesses,” “experts”
              and “record custodians”; which states name and address of each witness; and
              which contains a brief narrative summary of the testimony to be covered by
              each witness. (Modification of Local Rule 16.1(b)).


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       b.     A list of exhibits and designations of portions of depositions. All
              documentary exhibits offered by the Government shall be submitted on
              CD at the conclusion of the trial.

       c.     Requested jury instructions and motions in limine and any proposed voir dire
              questions which the court is requested to ask during its examination of the
              jury and proposed findings in non-jury cases.

       8.     A final pretrial conference in this case is set for April 8, 2022, at 10:00 a.m.

Lead counsel must attend the pretrial conference. All pretrial motions will be heard and

resolved at that time and procedures for trial will be discussed. The defendant(s) need not

be present at the pretrial conference in a jury trial. Jury selection will begin the following

week; bench trials will begin immediately following the pretrial conference.

       9.     Counsel should direct any questions regarding this Order to Carla Moore,

Court Coordinator, at 214-753-2706.



       Signed August 30, 2021.




                                                              David C. Godbey
                                                         United States District Judge




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